Case 4:20-cv-00957-SDJ   Document 750-3 Filed 12/30/24   Page 1 of 9 PageID #:
                                   49172
Case 4:20-cv-00957-SDJ   Document 750-3 Filed 12/30/24   Page 2 of 9 PageID #:
                                   49173
Case 4:20-cv-00957-SDJ   Document 750-3 Filed 12/30/24   Page 3 of 9 PageID #:
                                   49174
Case 4:20-cv-00957-SDJ   Document 750-3 Filed 12/30/24   Page 4 of 9 PageID #:
                                   49175
Case 4:20-cv-00957-SDJ   Document 750-3 Filed 12/30/24   Page 5 of 9 PageID #:
                                   49176
Case 4:20-cv-00957-SDJ   Document 750-3 Filed 12/30/24   Page 6 of 9 PageID #:
                                   49177
Case 4:20-cv-00957-SDJ   Document 750-3 Filed 12/30/24   Page 7 of 9 PageID #:
                                   49178
Case 4:20-cv-00957-SDJ   Document 750-3 Filed 12/30/24   Page 8 of 9 PageID #:
                                   49179
Case 4:20-cv-00957-SDJ   Document 750-3 Filed 12/30/24   Page 9 of 9 PageID #:
                                   49180
